                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:13-00012
                                                      )       Judge Trauger
                                                      )
[1] CHARLES JEFFREY EDWARDS and                       )
[2] BRENDA ELISE EDWARDS                              )
                                                      )

                                            ORDER

          Charles and Brenda Edwards make a request for travel in a sealed document. (Docket

No. 109) In order to assure that the court fully understood the position of the supervising

probation officers in Texas, the court requested that the Probation Office in this district contact

the Texas probation officer. Attached hereto is a Memorandum setting out that district’s

position. As can be seen, the travel request cannot be granted at this time. However, the court

will hold the request in abeyance, should the defendants meet the required condition for this

travel.

          It is so ORDERED.

          ENTER this 6th day of March 2014.


                                                      ________________________________
                                                            ALETA A. TRAUGER
                                                              U.S. District Judge




 Case 3:13-cr-00012         Document 111        Filed 03/06/14       Page 1 of 1 PageID #: 456
